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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION


JOHN DOE,                                      )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )       CASE NO. 1:20-cv-00039-HAB-SLC
                                               )
INDIANA WESLEYAN UNIVERSITY,                   )
                                               )
      Defendant.                               )


                                            VERIF1CAT10N

                               b~ing. duly sworn, state that I have· reviewed the factual allegations

     .contained fr1 this Verified Complaint. I atn the John Doe described i'n the Complaint. I believe
     that the disclosureqfmy idenfify will cause meirreparable'harm astbis: case involves matters of

     utmost personal intimacy, including education records protected from disclosure by the Family

     Educational Rights and Privacy Act .("FERPA"),. 20 U.S;C; §1232g, 34 CFRPatt 99. All of the

     factual allegation$ in theVerffied Complaint are true and accurate to the best of my knowledge,




            Sworn to before me and sub-scribed inmy presence this ..'2...7~ ,;day of January, 2020.
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon

Dr. David Wright, President and Registered Agent for Indiana Wesleyan University, via U.S.

First Class Mail sent to 4201 S. Washington St., Marion, IN 46953 this 28th day of January,

2020.

                                            s /Peter T. Agostino
                                            Peter J. Agostino                    (#10765-71)
